                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                       Plaintiff,

       v.                                                    Case No. 08-CR-291

MARCUS A BOYD,

                       Defendant.


                                            ORDER


       Defendant Marcus Boyd is charged with Assault Resulting in Serious Bodily Injury and

Robbery within Indian Country in violation of 18 U.S.C. §§ 113(a)(6), 2111 and 1153. The case

was originally scheduled for trial on February 2, 2009, within the speedy trial deadline. On

November 21, 2009, Boyd’s attorney filed a motion to withdraw on the ground that a conflict of

interest had arisen. The motion was granted and Attorney John A. Birdsall was appointed to

represent the defendant.

       Because of the need for Attorney Birdsall to prepare for trial and his unavailability on the

scheduled trial date, it is necessary to schedule this matter outside of the original speedy trial

deadline. The time necessary to reschedule the case is hereby excluded pursuant to 18 U.S.C.

§ 3161(h)(8). The Court specifically finds that the period of delay resulting from a continuance is

necessary so that the defendant has the effective assistance of counsel. As a result, the ends of




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justice served by granting a continuance outweigh the best interest of the public and the defendant

in a speedy trial. Accordingly, such time is excluded.

       SO ORDERED this         30th   day of January, 2009.

                                                     s/ William C. Griesbach
                                                     William C. Griesbach
                                                     United States District Judge




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